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                    IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
IN RE:     DEBBIE LYNN DIAMOND-JOBE, Debtor                       Case No. 18-03392-JAW
                                                                           CHAPTER 13

                                             NOTICE


       Debbie Lynn Diamond-Jobe has filed papers with the court for an entry of discharge.
       Your rights may be affected. You should read these papers carefully and discuss
them with your attorney, if you have one in this bankruptcy case. (If you do not have an
attorney, you may wish to consult one.)
       If you do not want the court to suspend the payments, or if you want the court to consider
your views on the Motion, then on or before 21 days, you or your attorney must:
       File with the court a written request for a hearing at:

       U.S. Bankruptcy Clerk
       U.S. Bankruptcy Court
       P.O. Box 2448
       Jackson, MS 39225-2448

        If you mail your request to the court for filing, you must mail it early enough so the court
will receive it on or before the date state above.
        You must also mail a copy to the debtors’ attorney:

       Thomas C. Rollins, Jr.
       The Rollins Law Firm, PLLC
       P.O. Box 13767
       Jackson, MS 39236
       (601) 500-5533

       If you or your attorney do not take these steps, the court may decide that you do not
 oppose the relief sought in the motion and may enter an order granting that relief, which shall
 sustain this Motion.
Date: September 22, 2021           Signature: /s/ Thomas C. Rollins, Jr.
                                             Thomas C. Rollins, Jr. (MSBN 103469)
                                             The Rollins Law Firm, PLLC
                                             P.O. Box 13767
                                             Jackson, MS 39236
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                   IN THE UNITED STATES BANKRUPTCY COURT
                   FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
IN RE:    DEBBIE LYNN DIAMOND-JOBE, Debtor                      Case No. 18-03392-JAW
                                                                         CHAPTER 13

                         MOTION FOR ENTRY OF DISCHARGE

       COMES NOW, Debtor, by and through counsel, and moves this Court to enter a Chapter
13 Discharge Pursuant to 11 USC §1328(a) and (h) on behalf of the Debtor, and in support
thereof, would show the Court as follows:
   1. Debtor commenced this case on August 31, 2018 by filing a voluntary petition for relief
       under Chapter 13 of Title 11 of the United States Bankruptcy Code.
   2. Debtor has completed a Personal Financial Management Instruction Course and same has
       been filed with the Court (dk # 14) on or about September 9, 2018.
   3. That on or about September 8, 2021, the Chapter 13 Trustee filed its Notice of
       Completion of Plan Payments (dk # 30).
   4. That on or about September 7, 2021, debtor passed away during the pendency of the case.
   5. That pursuant to the Voluntary Petition (dk #1) filed on or about August 31, 2018, Debtor
       has not filed a prior bankruptcy case in the preceding 8 years.
   6. That pursuant to the Schedules (dk # 4) filed on or about August 31, 2018, Debtor had no
       Domestic Support Obligations.
   7. That Debtor should be entitled to a discharge of her debts in this case as all requirements
       of the Confirmed Chapter 13 Plan (dk # 20) have been met.

       WHEREFORE, Debtor prays that the case have an Order of Discharge entered and for
such additional or alternative relief as may be just and proper.

                                     Respectfully submitted

                                     /s/ Thomas C. Rollins, Jr.
                                     Thomas C. Rollins, Jr. (MS Bar No. 103469)
Of Counsel:
Thomas C. Rollins, Jr.
The Rollins Law Firm, PLLC
PO Box 13767
Jackson, MS 39236
601-500-5533
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                                 CERTIFICATE OF SERVICE

       I, Thomas C. Rollins, Jr., do hereby certify that a true and correct copy of the above and
foregoing Motion was forwarded on September 20, 2021, to:

By Electronic CM/ECF Notice:

       James Henley, jlhenley@jlhenleych13.net

       U.S. Trustee, USTPRegion05.JA.ECF@usdoj.gov


                                             /s/ Thomas C. Rollins, Jr.
                                             Thomas C. Rollins, Jr.
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                                 CERTIFICATE OF SERVICE

       I, Thomas C. Rollins, Jr., do hereby certify that a true and correct copy of the above and
foregoing Notice and Motion were forwarded on September 22, 2021, to:

By Electronic CM/ECF Notice:

       Chapter 13 Case Trustee

       U.S. Trustee


                                             /s/ Thomas C. Rollins, Jr.
                                             Thomas C. Rollins, Jr.
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 4
                                       UNITED STATES BANKRUPTCY COURT
 5                                     SOUTHERN DISTRICT OF MISSISSIPPI

 6    IN RE:                                                       CASE NO: 18-03392
       DEBBIE LYNN DIAMOND JOBE                                    DECLARATION OF MAILING
 7
                                                                   CERTIFICATE OF SERVICE
 8                                                                 Chapter: 13


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11
     On 9/22/2021, I did cause a copy of the following documents, described below,
12   Notice and Motion for Discharge

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     to be served for delivery by the United States Postal Service, via First Class United States Mail, postage prepaid, with
19
     sufficient postage thereon to the parties listed on the mailing list exhibit, a copy of which is attached hereto and
     incorporated as if fully set forth herein.
20
     I caused these documents to be served by utilizing the services of BK Attorney Services, LLC d/b/a certificateofservice.
21   com, an Approved Bankruptcy Notice Provider authorized by the United States Courts Administrative Office, pursuant to
     Fed.R.Bankr.P. 9001(9) and 2002(g)(4). A copy of the declaration of service is attached hereto and incorporated as if
22   fully set forth herein.
     Parties who are participants in the Courts Electronic Noticing System ("NEF"), if any, were denoted as having been
23   served electronically with the documents described herein per the ECF/PACER system.

24   DATED: 9/22/2021
                                                      /s/ Thomas C. Rollins, Jr.
25                                                    Thomas C. Rollins, Jr. 103469

26                                                    The Rollins Law Firm
                                                      PO Box 13767
27                                                    Jackson, MS 39236
                                                      601 500 5533
28
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                                       UNITED STATES BANKRUPTCY COURT
4                                      SOUTHERN DISTRICT OF MISSISSIPPI
5
        IN RE:                                                           CASE NO: 18-03392
6
        DEBBIE LYNN DIAMOND JOBE                                         CERTIFICATE OF SERVICE
                                                                         DECLARATION OF MAILING
7
                                                                         Chapter: 13
8

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11   On 9/22/2021, a copy of the following documents, described below,

     Notice and Motion for Discharge
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19   were deposited for delivery by the United States Postal Service, via First Class United States Mail, postage prepaid, with sufficient
     postage thereon to the parties listed on the mailing list exhibit, a copy of which is attached hereto and incorporated as if fully set forth
20   herein.

     The undersigned does hereby declare under penalty of perjury of the laws of the United States that I have served the above
21   referenced document(s) on the mailing list attached hereto in the manner shown and prepared the Declaration of Certificate of
     Service and that it is true and correct to the best of my knowledge, information, and belief.
22
     DATED: 9/22/2021
23

24

25
                                                                  Jay S. Jump
26                                                                BK Attorney Services, LLC
                                                                  d/b/a certificateofservice.com, for
27                                                                Thomas C. Rollins, Jr.
                                                                  The Rollins Law Firm
28                                                                PO Box 13767
                                                                  Jackson, MS 39236
              18-03392-JAW Dkt 34 Filed 09/22/21 Entered 09/22/21 10:27:25 Page 7 of 8
PARTIES DESIGNATED AS "EXCLUDE" WERE NOT SERVED VIA USPS FIRST CLASS MAIL
PARTIES WITH A '+' AND DESIGNATED AS "CM/ECF E-SERVICE" RECEIVED ELECTRONIC NOTICE THROUGH THE CM/ECF SYSTEM

CASE INFO                                                                         EXCLUDE
1LABEL MATRIX FOR LOCAL NOTICING         VERITAS FEDERAL CREDIT UNION             US BANKRUPTCY COURT
05383                                    PO BOX 681059                            501 EAST COURT STREET SUITE 2300
CASE 18-03392-JAW                        FRANKLIN TN 37068-1059                   PO BOX 2448
SOUTHERN DISTRICT OF MISSISSIPPI                                                  JACKSON MS 39225-2448
JACKSON-3 DIVISIONAL OFFICE
WED SEP 22 10-08-58 CDT 2021




BELK                                     JPMORGAN CHASE BANK N A                  DILLARDS
PO BOX 530940                            BANKRUPTCY MAIL INTAKE TEAM              PO BOX 965024
ATLANTA GA 30353-0940                    700 KANSAS LANE FLOOR 01                 ORLANDO FL 32896-5024
                                         MONROE LA 71203-4774




DISCOVER BANK                            DISCOVER FINANCIAL SERVICES LLC          JCPENNEY
DISCOVER PRODUCTS INC                    PO BOX 3025                              PO BOX 965007
PO BOX 3025                              NEW ALBANY OH 43054-3025                 ORLANDO FL 32896-5007
NEW ALBANY OH 43054-3025




JOHN S SIMPSON ESQ                       LOUIS JOBE                               LOUIS JOBE JR
SIMPSON LAW FIRM P A                     119 RILEY WILLIAMS RD                    119 RILEY WILLIAMS RD
FOR VERITAS FEDERAL CREDIT UNION         CANTON MS 39046-8502                     CANTON MS 39046-8502
PO BOX 1410
RIDGELAND MS 39158-1410




LOWES                                    PORTFOLIO RECOVERY ASSOCIATES LLC        REPUBLIC FINANCE
PO BOX 965004                            PO BOX 41067                             7721 LAKE HARBOUR DR
ORLANDO FL 32896-5004                    NORFOLK VA 23541-1067                    16
                                                                                  RIDGELAND MS 39157




REPUBLIC FINANCE LLC                     SAMS CLUB                                SYNCHRONY BANK
282 TOWER RD                             PO BOX 530942                            CO PRA RECEIVABLES MANAGEMENT LLC
PONCHATOULA LA 70454-8318                ATLANTA GA 30353-0942                    PO BOX 41021
                                                                                  NORFOLK VA 23541-1021




                                         EXCLUDE
TJ MAXX                                  UNITED STATES TRUSTEE                    WELLS FARGO BANK NA
PO BOX 530948                            501 EAST COURT STREET                    PO BOX 10438 MAC F823502F
ATLANTA GA 30353-0948                    SUITE 6-430                              DES MOINES IA 50306-0438
                                         JACKSON MS 39201-5022




DEBTOR                                   EXCLUDE                                  EXCLUDE
DEBBIE LYNN DIAMOND JOBE                 JAMES L HENLEY JR                        THOMAS CARL ROLLINS JR
119 RILEY WILLIAMS RD                    PO BOX 31980                             THE ROLLINS LAW FIRM PLLC
CANTON MS 39046-8502                     JACKSON MS 39286-1980                    PO BOX 13767
                                                                                  JACKSON MS 39236-3767
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ADDRESSES WHERE AN EMAIL IS PRESENT WERE SERVED VIA "CM/ECF E-SERVICE" THROUGH THE UNITED STATES BANKRUPTCY COURT'S
NOTICE OF ELECTRONIC FILING ("NEF")SYSTEM.

Stacey Moore Buchanan                    (Creditor)                               (U.S. Trustee)
Jones Walker LLP                         Veritas Federal Credit Union             United States Trustee
190 E Capitol St, Ste 800                PO Box 681059                            501 East Court Street
Jackson, MS 39201                        Franklin, TN 37068                       Suite 6-430
                                         represented by:                          Jackson, MS 39201
sbuchanan@joneswalker.com                John S. Simpson
                                         Simpson Law Firm, P.A.                   USTPRegion05.JA.ECF@usdoj.gov
                                         P.O. Box 2058
                                         Madison, MS 39130-2058

                                         jsimpson@simpsonlawfirm.net




(Trustee)                                (Debtor)
James L. Henley, Jr.                     Debbie Lynn Diamond-Jobe
PO Box 31980                             119 Riley Williams Rd
Jackson, MS 39286-1980                   Canton, MS 39046
                                         represented by:
jlhenley@jlhenleych13.net                Thomas Carl Rollins, Jr
                                         The Rollins Law Firm, PLLC
                                         PO BOX 13767
                                         Jackson, MS 39236

                                         trollins@therollinsfirm.com
